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A Page 1of13

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IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIREOrp § 7001
LAKE COUNTY, ILLINOIS

ROLLIN J. SOSKIN, cIRCUIT GLERK:
Plaintiff
Vv. No. 0 t GH 1 2 & g

KiDS COUNT ENTERTAINMENT, L.L.C.,
an illinois Limited Liability Company; KIDS
- COUNT ENTERTAINMENT, ING.,

an /finois Corporation,

ROBERT AREN, and VICK] ESRALEW,
a/k/a VICK] AREN

Defendants.
VERIFIED COMPLAINT F. CCOUNTING AND OTHER ELIEF
COUNT |

NOW COMES the Plaintiff, ROLLIN J. SOSKIN (‘Soskin’}, by his attomey
Thomas CG. Crooks, and complains of Defendants KIDS COUNT ENTERTAINMENT,
LL (Defendant LL.C."}, KIDS COUNT ENTERTAINMENT, INC, (“Defendant
Corporation”), ROBERT AREN (“Aren”) and VICK] ESRALEW a/k/a VICKI AREN
(Esralew"), jointly and severally as follows:

1. Pursuant fo an agreement dated November 22, 1998 (Agreement’),
Plaintiff is a member of Defendant L.L.C.. The Agreement was modified in part by a
ieiter agreement dated February 24, 1999. A copy of such Agreement along with a
copy of the modification letter of February 24, 1998, are attached hereto as Group
Exhibit A,

Case 04-03774 Doc 105-1 Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit
A Page 2 of 13

2. All Defendants are parties to the Agreement. According to the records
filed with the lilinois Secretary of State, the registered office address of the Defendant
entities and of Esralew is 1735 Country Club Drive, Long Grove, Illinois 60047. Aren is

Esralew’'s husband and resides with her at the same address.

3, According to its Articles of Organization and subsequent documents filed
with the Secretary of State, Defendant Corporation and Esralew are the managers of
Defendant L.L.C., and Aren is an officer of Defendant L.L.C.. Such Articles and

documents are attached hereto as Exhibit B.

4. Pursuant to Section 9.4 of the Operating Agreement of the Defendant
L.L.C. (“Operating Agreement’), the secretary of the L.L.C. is required to send to each
‘member, monthiy financiat reports prepared by the L.L.C. and an annual campilation
report prepared by independent accountants. To date, no such reports have been

received by Plaintiff.

5. Pursuant to Section 9.2 of the Operating Agreement, Plaintiff, as a

member, is entitled fo examine the financial and business records of Defendant L.L.C..

6.  A-written request for such examination has been submitted to Esralew as
Defendant L.L.C.’'s registered agent. A copy of such request is attached hereto as

Exhibit C.
Case 04-03774 Doc105-1 Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit
A Page 3 of 13

7 To gate such request has not been honored, aor has a reply been

received.

B. Pursuant to Paragraph 12 of the Agreement, the parties to the Agreement

were fo meet not less often than every fourteen days to review various financial data.

9. From and after May of 1999, Defendants refused to communicate directiy
with Flaintiff or with the other parties to the Agreement, or to provide any information

whatsoever about the activities of the Company or of Esralew.

10. Plaintiff is informed and believes that Esralew and Aren have converted
assets and opportunities of the Defendant L.L.C. to their personal use and benefit, to

the detriment of Plaintiff.

WHEREFORE, Plaintiff prays this Honorable Court enter judgment against
Defendants jointly and severally, directing Defendants to provide ta al! members of
Defendant L.L.C., an accounting from November 22, 1998 to the present, including
income and expense statements, beginning and ending balance sheets, and a detailed
schedule of current assets and liabilities, and for such other or further raliet as the Court

deems equitable and appropriate in the circumstances.
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A Page 4of 13

- COUNT II

4.-10. Plaintiff realleges Paragraphs 1 through 10 of Count | as Paragraphs 1

through 10 of Count Il.

14. Pursuant to Paragraph 18 of the Agreement, and for substantial
consideration, Defendant Esralew agreed that ail of her persorat services,
appearances, creative efforts, activities and producis shall be performed and/or created

for the exclusive benefit of Defendant L.L.C.

12. Upon information and belief, Esralew has not devoted alj of her personal
services, appearances, creative efforts, activities and products for the exclusive benefit
of Defendant L.L.C. and Defendant Corporation, and has devoted significant effert to

the benefit of herself and others, to the detriment of Plaintiff.

WHEREFORE, Plaintiff prays this Honorable Court enter judgment against
Defendants jointly and severaily, and direct that Defendant Esralew account for alt of
hes personal services, appearances, creative efforts, activities and products from
November 22, 1998 fo the present, and for such other or further relief aé the Court
deems equitable and appropriate in the circumstances.

submitted,

Aye.

Rollin'd/ Soskin
Case 04-03774 Doc105-1 Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit
A Page 5of13

ROLLIN J. SOSKIN, upon his oath states that he has read the foregoing

Complaint by him subscribed, and that the. é is true inl substance and in fact.

(Hn

Rollin JASbskin

Thomas C. Grooks
Attorney for Plaintiff
Three First National Plaza
Suite $35

Chicago, iIKinois 60602
(312) 641-2260

Rollin J. Soskin
Pro Se

9933 Lawler Ave.
Suite 312
Skokie, IL 60077
(847} 329-9991
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- Case O4- 03774 - Doc 105- 1 Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit
A Page 6 of 13

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INTHE CIRCUIT COURT OF THE NINETEENTHYUDICIAL CIRCUIT
LAKE COUNTY, ILLINOIS :

ROLLINS, SOSKIN,
2 Plaintiff,
No, 01 CH'1269

KIDS COUNT ENTERTAINMENT, LL.C,, an
Tiincis Limited Liability Company; KIDS COUNT
ENTERTAINMENT, INC., an Tlinois Corporation;
ROBERT AREN: and VICK] BSRALEW,
afk/a VICK AREN, individaully and d/b/e
VICKILEW LLC and/or VICKILEW.COM; ~

. VICKILEW LLC a/k/a VICKILEW.COM;

Defendants.

AMENDED VERIFIED COMPLAINT
FOR ACCOUNTING AND OTHER RELIEP

_ Now comes the Plaintiff, Roliin J. Soskin (“Soskin”), by and through his Attorney, Thomas
C. Crooka, and complains of Defendants Kids Count Entertainment, LLC: (“Defendant L.L.C.”},
Kids¢ Count Entertainment, tae. (‘Defendant Corporation”), Robert Aren(“Aren”), and VickiEsralew.
‘afkia Vicki Aren(“Esrilew” ) individually and d/b/a Vickilew: com avkia Vickilew, LLC, (Vickilew"’);
Vickilew.com and Vickilew, LLC, jointly and severally as follows:

COUNT FACCOUNTING

1. Pursuant to an agreement dated November 22, 1998 (“Agreement”), Plaintiff is a
member of Defendant Ld. C. The Agreement waa modified in part by a letter agreement dated
February 24, 1999, A copy of such Agreement along with a copy of the modification letter of
February 24, 1999 are estached hereto as Group Exhibit A.

2. All Defendants, except Vickilew, are parties ta the Agreement. According to the records
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Case 04-03774 _ Doc 105-1 Filed 12/11/06 Entered 12/11/06 07:23:42 . Desc Exhibit
A Page 7 of 13 ,

filed with, the Iinois Secretary of State, the registered office address of the Defendant entities and
of Beralew is 1735 Country Club Drive, Long Greve, Ilfinois 60047, Aren is Esralew's husband and
" resides with her at the same address, Oe
3. According to its Articles of Organization and mobaeguent documents filed with the
Secretary of State, Defendant Corporation and Hsralew ite the managers of Defendant L.L.C, and
Aren is an officer of Defendant LLC. Such Aiticles and documents are attached hereto as Exhibit
4. ‘Pursuant to Section 9.4 of the ‘Operating Agreement of the Defendant LLC. (“Operating
Agreement ), the secretary ofthe L.L.C. is required to send to each meniber moathly financial reports
prepared by the L.L.C. and an \ annual compilation report prepared by independent accountants. To
_ davé, no pach reports have been received by Plaintiff |
5. Pursnant to Section 9.2of the Operating Agreement, Plaintiff aS a member, is entitled ta
‘examine the financial and business records of Defendant . Lc.

6. _Awiitten request for such examination has been submitted to Esralew as Defendant

L.L.C.’s registered agent, A copy of suck request is attached hereto a5 Exhibit c,

7. - To date such request has not been, honored, nor has a reply ‘been received.

8. Pursuant to Paragraph 12 of the Agreement, the parties to the Agreement were to meet
not less often than every fourteen days to review various financial data.

9. From and after May of 1999, Defendants refosed to communicate directly with Plaintiff
or with the other parties of the Agreement, or to provide any information whatsoever about the |
activihes of the Company or of Exralew, .

"106. Plaintiff is informed and believes that Esralew and Aren have converted assets and
Jun 22 06 O3:48p §47-650-0810 p4
Case 04-03774 Doc:105-1 Filed 12/11/06 © Entered 12/11/06 07:23:42 Desc Exhibit
A Page 8 of 13:

opportunities of the Deféndant LLC. to their personal use and benefit, to the detriment of Plaintiff
WHEREFORE, Plaintiff prays this Honorable Court enter Judgment against Defendants
joindy and severaily, directing Defendants to provide all members of Defendant L.L.C. an accounting
from Novernbez 22, 1998 to the present, including income and expense staternents, beginning and
ending balance sheets, and a detailed schedule of current assets and liabilities, and for such other or
further relief as the Court deems equitable and appropriate in the circumstances.
OUNT IL : CONT .
i-10. Plaintiff realleges Paragraphs 1 through 10 of Count Tas Paragraph 1 through 10 of
Count I. - -
I. Some time after May of 1999 defendant Esralew and, upon information and belief,
defendants frei and Kids Count Entertainment, inc. created or participated in the creation of an
internet web . site through which products owried, created and/or developed by Kids Count
Entertainment, LZ2..€. or are based on ideas and concepts owned by Kids Count Entertainment,
L.L.C, and/or the creative efforts of Esralew, which were re exclusively promised to Kids Count
_ Entertainment, 1.L.C. are  offeced for sale to the public
12. Upon information and belief, defendants Esralew, Arenand Kids Count Entertainment.
Inc, are engaging in other marketing strategies in order to sell praducts which were owned, created
and/or developed by Kids Count Sintertainment, LLC. of are based on ideas and concepts owned
by Kids Count Entertainment, L. L. C, and/or the creative efforts of Esralew, which wera exclusively
promised to Kids Count Entertainment, L.L.C. Upon information and belief defendants Esvalew,

Aren and Kids Count Entertainment, Inc., have created one or more new business entities in order

io sell said products through the web site and through other means.
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Case 04-03774 Doc105-1 Filed 12/11/06 Entered 12/11/06. O7: 23:42 Desc Exhibit ....-

. At Page 9 of 13 _

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“13, ‘Defendant Esralew. and, upon information and belief defendant ‘Kids Count
Ratertainment, Inc., have developed products using concepts which are the property of Kids Count
Entertainment, L.L.C. and are selling said products through the web site and through other means,

14, The products being sold, as alleged in paragraphs 11, 12 arid 13, are the property of
Kids Count Entertainment, L.L.C. and, pursuant to the parties? agreement, Soskinbasarightto share
in the income derived from the sale of products and concepts owned Kids Count Entertainment,
LLC. -
15, - Soskin has fulfilled all of his promises and obligations under the parties? written
Agreement. Defendant Bsralew and, upan information and belie defendants Aren and Kids Count
Entertainment, Inc,, however, have breached the parties agreement as specified in paragraphs 6, 7,
8,9, 10, 11, 12 and 13 as well as in-the following ways; a
(By providing Esralew’s creative efforts and activities to business entities other.
than Kids Count Entertainment, LL. C. in violation of paragraph 18;

" tb} “By making disbursements in excess of $2,000, 00 from Kids Count ’
Entertainment, L.L.C.’s bank secount. without the requisite signatures in violation of
paragraph 3; .

(c) By failing to deposit all receipts of Kids Count Entertainment, L.L.C. into ts
bank account at the LaSalle Bank in violation of paragraph 3;
(d) By refusing ta permit Soskin to participate in the managetnent of Kids Count
Entertainment, L. L.C. in violation of paragraphs 9 and 12;
(¢) Upon information and belief, in other ways as yet unknown to the plaintiff:

WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defendants Kids
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Case 04-03774 Doc 105-1 ° Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit
A Page 10 of 13 .

ve : - ZY

Count  Emertainmet, Thc., Eran and Esralew, and grant the following relief

(1) Order that the aforesaid defendants account for all funds received from the sale of the
property of Kids Count Entertainment, LL.C. and/or which have resulted from Esralew's creative

' efforts and activities and deposit into Kids CountEntertainment, L.L.C.'s LaSalle Bank account, any

and all such finds

{2} Order that Esralew account for all of her creative efforis and activities and all funds
resulting thereftom; oe

(3) "Order that the afordsaid id defendants specifically perform as required under the parties .
agreement;

(4) Order such other relief as the Court deems appropriate under the circumstances.

INT Mt U D
1-15. Plaintiff realleges Paragraphs I through 15 of Count il as Paragraphs 4 through 13
ofCount I. CO

i6, At all relevant times hereto defendants Esralew, Kids Count Entertaiament, Inc, and

Aren, by law and pursuant to the parties’ Agreement, owed fiduciary duties to the plaintiff as } to the

_mannerin which Esralew, Kids Count Entertainment, Tac. an Aren, 3 Sperated the business entity Kids

Count Entertainment, L.L.C.
- 17. Defendants breached their fiduciary duties to the plaintifas described in paragraphs

6, 7, 4, 3, 10, 11, 12, 13 and 15,
18. Asa result of the breach of the fiduciary duties described above, plaintiff has been

damaged through the Joss of income and the devaluation of the entity Kids Count Entertainment,

LL©,
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Case 04-03774 Doc105-1 Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit

A Page 11 of 13

"WHEREFORE, Pisin pays this Honorable Court enter judgment against Defendants Kids
Count ‘Entertainment, Inc., Eran and Esralew, and grant the following relief:
(1) Order that the aforesaid defendants account for all funds received from the sale of the

property of Kids Count Entertainment, LL, C. andor which have resulted from Escalew’s creative

efforts and activities; and deposit inte Kids Count Entertainment, L. L.C,‘s LaSall e Bank account, any

aed ali such ‘fimds
(2) - Order that Esralew account for all of her creative efforts and activities and alf funds

resulting therefrom:
(3) Order that the aforesaid defen dants specifically perform ay required under the parties

agreement:
(4) Order such other relief as the Court deems appropriate under the circumstances,
L~l8_ Plaintiff realleges Paragraphs I through 13 of Count mm a5 Paragraphs 1 through 1 18

of Count rv.
19. At all relevant tunes hereto, défendants Esralew, Kids Count Eniertainrnent, Inc. and

Aren, by law and pursuant to the parties’ Agreement, owed a fiduciary duty to Kids Count

Entertainment, LLC. Pursuant to this duty defendants Esralew, Kids Count Entertainment, Ine, and

Aven had the obligation to pursue business opportunities available to Kids Count Entertainment,

L.L.C. for the benefit of Kids Count Entertainment, LL... and its owners.
20. In violation of their fiduciary duty defendants took business opportunities which

defendants Esralew, Kids Count Entertainment, Inc. and Aren knew were available to Kids Count |

. Entertainment, L.L.C, and diverted them ta another business entity all to the damage of Kids Count.

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A Page 1 12 of 13

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"Entertainment; LLC. ond the plain ©
WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defendants Kids
Count Entertainment, Inc., Aren and Esralew, and grant the folowing relief:
w Order that che aforesaid defendants account for all funds received from the sale ofthe
property of Kids Count Entertainment, LLC. and/or which have resulted from Esralew’s creative
efirts and activities; and deposit into Kids Count Entertainment, LL. C.’s LaSalle Bank account, any
and all such funds .

(2) Order that Esralew account for all of her creative efforts and activities and all funds

resulting therefrom;
(3} Order that the afbresaid defendants specifically perform as required under the parties —
pgreement;
(4y ~ Order-such other relief as the Court deéms appropriate under the circumstances.
COUNT V-ACCOUNTING OR VICKILEW
1-20. Plaintiff realleges Paragraphs | through 20 of Count IV as Paragraphs ] through 20
of Count V. . : .
21. © Defendant Esralew and, upon information and belief, defend ants Aren and Kids Count
Entertainment, Inc., sometirne in or after. 1999, crented or participated in the creation af a website,
namely Vickilew.com, in order to market and selt products which were owned, created and/or
developed by Kids Coust Entertainment, LLC. or are based on ideas and concepts owned by Kids
Count Bntertainment, LLC. and the creative efforts of Esralew, which were exclusively promised
“to Kids Count Entertainment, LLC,

22, Although the name Vickilew L.L.C. * Appears on the website, plaintiff is informed by
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__ the Secretary af State act believes Chat no such exy has been fhrmed within ors eeietersd ta do
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Aecss the wives of Vickilew coms and, sccondiaty, ara, at afl relevant thoes horete, ‘at on
agent or manner of Vickilew cous If in fhet, the eutty Viekstewy’LaL.C. dons exist upon information
oad baliat, arabe, sta ralavict fies hero, i un Ant OF coma Vine LC. .

2. "Vicars sold and poeta to se procs fiom neha (View 20n
sts legend fo paragraph 11. Bald prodoess are comoed, ercated endfor woes Gevetoped by Fide Coat
Hutestaiceient. LLC, oF are hesed ou Mess and concepts ome by Ids Coot Batartekvens, °
LJnC. asd the creative eSoets of Eeralow, which ween exclusively promived 13 Kia Count
Eviertabaiet, EL. . oo
_- WHEREPORE, Pieinitft pesys this Houorsble Coort enier jedgment ansinét datertdents
Eecalew, mtividuely. ged Moda Vickie 110. salon WickSieareoes, Vickiew LIC. andlor
Vieklow.oom andecing ssid deftedeate ta account Jor the cruatire officta, parsonal acrvines and
Acchitics ofEwrlow and proviiean xocoating, om the aoeption of Viekliow com, widfor Vickdlow

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